Case 1:23-cv-24486-KMW Document 16 Entered on FLSD Docket 01/17/2024 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 1:23-cv-24486-CMA

  JESUS GONZALEZ,

          Plaintiff,

  v.

  LSG1 TRAIL PLAZA LLC,

        Defendant.
  ________________________/

                                 JOINT NOTICE OF SETTLEMENT

          Plaintiff Jesus Gonzalez and Defendant LSG1 Trail Plaza LLC (collectively, the “Parties”)

  hereby file their Joint Notice of Settlement.

          1.      The Parties have reached a settlement of all claims asserted by Plaintiff against

  Defendant in this case.

          2.      The Parties are working together, and will continue to work efficiently, to complete

  the associated settlement paperwork, so that the Parties may file promptly a Stipulation of Dismiss

  with Prejudice.

          3.      In order to allow the Parties to focus on meeting the conditions of their settlement,

  the to prevent unnecessarily expending the resources of this Court and the Parties, the Parties are

  notifying the Court of their settlement, and that the Parties have agreed to stay all litigation

  activities in this case.

          4.      For the foregoing reasons, the Parties hereby jointly request that the Parties be

  relieved from further compliance with the deadlines in this case pending the filing of Stipulation

  of Dismissal with prejudice.
Case 1:23-cv-24486-KMW Document 16 Entered on FLSD Docket 01/17/2024 Page 2 of 2




  January 17, 2024
                                                        Respectfully submitted,

  ALBERTO R. LEAL, ESQ., P.A.                           HOLLAND & KNIGHT LLP
  8927 Hypoluxo Rd., #157                               701 Brickell Avenue, Suite 3300
  Lake Worth, FL 33469-5262                             Miami, Florida 33131
  Tel: 954-637-1868                                     Tel: (305) 374-8500


  By: s/Alberto R. Leal                                 By: s/Christine F. Gay
      ALBERTO R. LEAL (FBN 1002345)                        CHRISTINE F. GAY (FBN 0026009)
  Email: email: albertolealesq@gmail.com                Email: christine.gay@hklaw.com

  Counsel for Plaintiff                                 Counsel for Defendant

                                   CERTIFICATE OF SERVICE

          I Hereby Certify that on January 17, 2024, I electronically filed the foregoing with the
  Clerk of the Court. I also certify that the foregoing document is being served this day on all counsel
  of record identified on the attached Service List in the manner specified, either via transmission of
  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive electronically Notices of Electronic Filing.



                                                        s/Christine F. Gay
                                                        Christine F. Gay




                                                    2
  #238814123_v1
